                                                 Exhibit A
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        1.   Altemos, Erin B. (MD)                      44.   Cervantes-Juarez, Silvia (CA)
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        2.   Alvarez-Braxton, Jamey & Alvarez,          45.   Chapman Jr., Richard E. (CA)
    3        Lupe (CA)                                  46.   Clevenger, David Odell (PA)
       3.    Alvernaz, Eulalia (CA)                     47.   Clifford, Eugene Joseph (FL)
     4 4.    Amore, Marcie E. (OH)                      48.   Cohen, Janice (FL)
       5.    Anderson, Alayna Simone (PA)               49.   Collins, Judith (PA)
     5 6.    Anderson, Paul M. (FL)                     50.   Conant, Bertha (CA)
     6 7.    Andrews, Joshua (TX)                       51.   Cook, Clyde A. & Margit G. (TX)
       8.    Applegate, David R. (FL)                   52.   Cook, Jonathan Michael (CA)
     7 9.    Aramburo, Abigail (AZ)                     53.   Cooper, James D. (KS)
       10.   Armstrong, LeRoy E. (FL)                   54.   Cordero, Anthony P (CA)
     8 11.   Arsenault, Ronald C. (MA)                  55.   Cox, Charles W. & Laura A. (CA)
       12.   Bacon, John (MD)                           56.   Creditt, Kathy M. (VA)
     9
       13.   Baer, Regina & Jerry (MO)                  57.   Crump, Vicki M. (GA)
    10 14.   Bailey, Constance (AR)                     58.   Curcio, Louis Salvatore (NJ)
       15.   Ballesteros, Miguel (CA)                   59.   Curtis, Jean F. (MA)
    11 16.   Banks, Marquita R. (AL)                    60.   Darchuk, Vasiliy (CA)
       17.   Barganier, Tonya (FL)                      61.   Davidowicz, Joan A. (MA)
    12 18.   Barton, Anne M. (NY)                       62.   Davis, Johnell (TX)
    13 19.   Bautista, Victor Chavez & Garcia,          63.   De Mauex, Lorraine (FL)
             Victor Chavez (CA)                         64.   Diggs, Barbara A. (OH)
    14 20.   Baxter, Anita (TX)                         65.   DuBocq, James & Kathy (TN)
       21.   Bei, Richard (NY)                          66.   Dugas, Cindy Kathleen (LA)
    15 22.   Bei, Tanner (CA)                           67.   Dukette, Sandra A. (TX)
       23.   Bell-Wright, Rachelle K. (CA)              68.   Ege, Marion L (NY)
    16
       24.   Berber, Mariana R. (CA)                    69.   El-Assri, Alexis & Hassan (PA)
    17 25.   Bertrand, Anthony (LA)                     70.   Eng, Dennis (CA)
       26.   Bettag, Brian (IN)                         71.   Estes, Debra (GA)
    18 27.   Bocchi, Curtis (MN)                        72.   Evans, Michele (PA)
       28.   Bostick, Christopher (NY)                  73.   Everett, Cherie L. (MD)
    19 29.   Bourne, David (NH)                         74.   Fantroy, Sharon D. (TX)
    20 30.   Brady, Raymond D. (FL)                     75.   Fernholz, Angelica L. (MN)
       31.   Brewster, Howard (GA)                      76.   Fields, Dana (NJ)
    21 32.   Brooks, Daniel J. (SC)                     77.   Filomeno, Daren (NH)
       33.   Brooks, Darlene (NY)                       78.   Fiox, Charity (CA)
    22 34.   Brown, Letha Mae (PA)                      79.   France, Camille Joseph (LA)
       35.   Burke, Donald (CA)                         80.   Freeman, Pamala J (CA)
    23
       36.   Calamas, Mary (AL)                         81.   Frierson, Charles (PA)
    24 37.   Callahan, Mary Louise (FL)                 82.   Fruge, Marion Michelle (TX)
       38.   Cappa, Beniamino (PA)                      83.   Garcia, Alvesa (CA)
    25 39.   Carter, Timothy (MO)                       84.   Garcia, Jr., Luis (FL)
       40.   Carvelli, Tina (NV)                        85.   Garner, Roger P. (OH)
    26 41.   Casas, Jeannette (CA)                      86.   Gierl, David Charles (PA)
    27 42.   Castaneda, Sara M. (CA)                    87.   Goldman, Christine & Jette, David
       43.   Caston, Sandra A. (ME)                           (CA)
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   88.    Goldman, Philip S. (MA)             134.   Manriquez, Cristhian (CA)
 1 89.    Gomez, Celina (FL)                  135.   Martin, Kathleen & Mervin (CA)
   90.    Gooden, Wadiya (PA)                 136.   Martin, Robert (PA)
 2 91.    Gravdahl, Theresa Marie (ND)        137.   Martinez, Beatrice (TX)
 3 92.    Grullon, Andres R. & John A. (IL)   138.   Matz, Ina (MI)
   93.    Gutierrez, Stephanie (CA)           139.   Mauldin, Rick (AZ)
 4 94.    Hammer, Joshua (KY)                 140.   McLean, Natalie (TX)
   95.    Harris, Victoria E. (VA)            141.   McSwain, John D. (OH)
 5 96.    Herzog, William F (TX)              142.   Michalski, Casmir (PA)
   97.    Hill, Kathleen (FL)                 143.   Mihan, Herbert & Viktoria (GA)
 6
   98.    Hinds, Lonnie (CA)                  144.   Milner, Charles & Patricia (TX)
 7 99.    Holden, Robert G. (NC)              145.   Mingus, Keith M (IN)
   100.   Hooks, Ralph L. (AL)                146.   Mirchandani, Madura (NJ)
 8 101.   Howard, Alfred, Gwen (IL)           147.   Mitchell, Harry A. (PA)
   102.   Howard, Jerry Allen (VA)            148.   Mitchell, Rita Y. (OH)
 9 103.   Hyland, Jerry (TX)                  149.   Morris, Mary (CA)
10 104.   Jain, Arun (CA)                     150.   Mosely, Clara Joyce (GA)
   105.   Jalil, Fouad (NY)                   151.   Mund, Carly (CA)
11 106.   Jang, Keun Young & Colleen (CA)     152.   Nevarez, Rogelio & Socorro, Maria
   107.   Jinks, Ruby R. (AL)                        (IL)
12 108.   Johnson, Dorlita (NC)               153.   Nguyen, Nelson (CA)
   109.   Jones, Agnes (AL)                   154.   Nolan, Kevin (CT)
13
   110.   Jones, Natasha Vivian (PA)          155.   Nwaba, Devon (MD)
14 111.   Jordan, Rickey & Sandra (LA)        156.   Only, Robert J. (NJ)
   112.   Jun, Julie (CA)                     157.   Orraj, Curtis F. (AZ)
15 113.   Jung, Tai Suk (CA)                  158.   Paraskeva, Dean (CA)
   114.   Karkhanehchin, Shohreh (Fatemeh)    159.   Parham, Karen G. (GA)
16        (CA)                                160.   Parker, Mallory Jean (FL)
17 115.   Kass, Zita D. (CA)                  161.   Patterson, Barbara C. (TX)
   116.   Kim, Justin (CA)                    162.   Patterson, Marita A (IL)
18 117.   Kim, Yongmin (CA)                   163.   Pearson, Craig (VA)
   118.   King, Lauryn (CA)                   164.   Pena, Ronald (CA)
19 119.   Kinsella, Michael K. (SC)           165.   Pendergraft, James Curtis (CA)
   120.   Komada, Stephen P. (NJ)             166.   Pepper, Michael (CA)
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   121.   Krause, Kay (PA)                    167.   Perreault, Kim Eva (AZ)
21 122.   Kroontje, Dayleen & Marilyn (WA)    168.   Perry, Ronald (VA)
   123.   Kropfeld, Lise T. (SC)              169.   Perry, Steven & Tammy (CA)
22 124.   Landcaster, Hugh A. (FL)            170.   Pierce, Susan Smith (FL)
   125.   Lee, JungYoo (CA)                   171.   Pigney, James & Michele (FL)
23 126.   Leffler, Ambre Dawn (AZ)            172.   Pittenger, Joseph Mestayer (LA)
24 127.   Lengel, David J. (PA)               173.   Pollard III, James S. (FL)
   128.   Linebrink, Richard J. (TX)          174.   Prange, Betty (FL)
25 129.   Logrono, Miguel (NY)                175.   Presayzen, Yakov (MA)
   130.   Lorenzo, Peter John (NY)            176.   Pride, Samantha (GA)
26 131.   Lynn, Christopher T. (PA)           177.   Prizzi, Ciro & Carol (NY)
   132.   Lyons, Jacqueline W. (NY)           178.   Ptasinski, Janine (IL)
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   133.   Malone, Odis (TX)                   179.   Quick, Kay L. (CA)
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     180.   Ramirez, Jennifer (CA)                 223.   Uhl, Lothar J. (FL)
     181.   Ratliff, Sr., David & Ann (WI)         224.   Undesser, Gary (MN)
 1   182.   Reeves, Edward J. (KS)                 225.   Veguez, Rosa (FL)
     183.   Robinson, Joshua Daniel (AR)           226.   Ward, Jerome D. (NY)
 2   184.   Roby, Deborah (FL)                     227.   Webster, William (CA)
 3   185.   Rocchio, Lauren (PA)                   228.   Wedeking, Dixie G. (SC)
     186.   Roles, Walter M. (WI)                  229.   Weisenstein, Larry (NJ)
 4   187.   Roskelly, Robert & Deborah (CA)        230.   Wessel, Sandra M. (OH)
     188.   Russell, David A. (FL)                 231.   West, Marilyn (CA)
 5   189.   Russell, Donovan William (NY)          232.   White, Bryan & Patricia (CA)
     190.   Rutledge, Angelina D. (CA)             233.   White, Ryan L. (KS)
 6
     191.   Sample, Larry R. & Jeanne (MO)         234.   Whitson, Paul (FL)
 7   192.   Sanchez, Antonio (CA)                  235.   Wilson, Eileen A. (FL)
     192.   Sanchez, Armando (TX)                  236.   Wilson, Eunice (CA)
 8   193.   Sappington III, Samuel V. & Nancy      237.   Wilson, Jonathan Earl (NC)
            L. (CA)                                238.   Wilson, Leslie G. (FL)
 9 194.     Scalera, Vincent (NY)                  239.   Wilson, Lynnessa (FL)
10 195.     Schlesinger, Lawrence C. & Violet C.   240.   Wood, Tara Lynn (MS)
            (CA)                                   241.   Wynn, Christina (NY)
11 196.     Schneider+Nelson Inc. (NJ)             242.   Yancoskie, Anthony (PA)
   197.     Scivoletto, Frank (NJ)                 243.   Zarfaty, Myra (FL)
12 198.     Sessoms (AKA Brower), Francene E.      244.   Zettler, Norman R. & Joan M. (WI)
            (DE)                                   245.   Ziegler, Ted & Susan (KY)
13
     199.   Shaheen, Phillip (GA)                  246.   Zientak Jr., Henry J. (NJ)
14   200.   Shaw, Greg (AR)                        247.   Zimmerman, Jamie & Chris (NV)
     201.   Sherry, Louis & Suk H. (AZ)
15   202.   Shulke, Peggy A. (IL)
     203.   Sing, Toi L. (IL)
16   204.   Smith, Alfreda M. (OH)
17   205.   Smith, Devidian (IL)
     206.   Smith, James & Roberta (OH)
18   207.   Sosey, Marilyn (FL)
     208.   Stanley, James & Stella (VA)
19   209.   Stansburry, Travis (CA)
     210.   Staveley, Donald D. (CA)
20
     211.   Stefancik, Andrew (NC)
21   212.   Straub, David & Nicole (CA)
     213.   Stroman, Clara M. (NY)
22   214.   Sturm, Diane (NE)
     215.   Sutton, Jeffrey (CA)
23   216.   Syms, Mark Jerome (MI)
24   217.   Tabuyo, Rick J (HI)
     218.   Tobin, Maya Rose (NC)
25   219.   Todd, Stephen & Bonnie (PA)
     220.   Tripp, Noel P. (NY)
26   221.   Troesch, John B. (IL)
     222.   Tumblety, Susan (NJ)
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